Case 3:17-cv-00072-NKM-JCH Document 256 Filed 03/08/18 Page 1 of 1 Pageid#: 1645


                                        IN THE
                             UNITED STATES DISTRICT COURT
                                       FOR THE
                             WESTERN DISTRICT OF VIRGINIA


  ELIZABETH SINES, ET AL                                         NOTICE
                                                            CASE NO.: 3:17CV00072
         v.

  JASON KESSLER, ET AL

  ______________________________________________________________________________

  TYPE OF CASE:
                      X       CIVIL                   CRIMINAL

                                TYPE OF PROCEEDING:
                       Scheduling Conference Call & Motions Hearing

  #126 – Motion to Preclude Recording of Discovery Negotiations
  #224 – Motion to Stay Discovery
  #233 – Motion to Stay Discovery
  _____________________________________________________________________________

  X     TAKE NOTICE that the proceeding in this case has been RE-SCHEDULED as indicated
        below:
  ______________________________________________________________________________

      *** Hearing to be held by CONFERENCE CALL - ALL PARTIES TO DIAL IN ***

               DATE: March 16, 2018
               TIME: 2:00 P.M.

              Dial in number: _______________________________
              Conference id : _______________________________
  _____________________________________________________________________________


                                                      JULIA C. DUDLEY, CLERK

  DATE: March 8, 2018                                 By: s/ Karen Dotson
                                                             Deputy Clerk
  To:    Hon. Moon
         Hon. Hoppe
         Counsel of Record
         Pro Se Defendants
         File
